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                    Exhibit 2
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           City Plating and Polishing, LLC, et al

                                                                                  1:19-cv-374-SL
    St. Augustine School of Medical Assistants, LLC




                                  Bandwidth.com CLEC, LLC c/o Corporation Service Company
                                    50 West Broad Street, Suite 1330, Columbus, OH 43215


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          Documents sufficient to identify the name and address of the owner of the phone number 770-545-6470 during
          the period February 20, 2015 through the date of this subpoena.

          Savett Law Offices LLC, attn: Adam T. Savett
          2764 Carole Lane, Allentown PA 18104
                                                                                09/16/2019 5:00 pm

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            08/19/2019



                                                                                      /s/ Adam T. Savett



                                                                                                       Plaintiffs,
City Plating and Polishing, LLC, et al
 Adam T. Savett, Savett Law Offices LLC, 2764 Carole Lane, Allentown PA 18104 (610) 621-4550, adam@savettlaw.com
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